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                                   UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

      UNITED STATES OF AMERICA,                            §
                                                           §
                                                           §
      v.                                                   § CASE NUMBER 4:20-CR-00142-SDJ
                                                           §
                                                           §
      DANIEL AUSTIN DUNN,                                  §
                                                           §


                                                     ORDER

.             The Court set a hearing to consider the matter of Defendant’s detention pending trial and

      Defendant waived his right to a detention hearing by the execution of waiver.

              It is therefore ORDERED that Defendant is detained pending trial without prejudice to

      his re-raising the issue of pretrial detention at any time.

               So ORDERED and SIGNED this 2nd day of August, 2021.




                                                       ____________________________________
                                                       KIMBERLY C. PRIEST JOHNSON
                                                       UNITED STATES MAGISTRATE JUDGE
